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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


    VIVIENNE DYAL, et al.,

                Plaintiffs,

    v.                                          Case No. 3:22-cv-578-MMH-MCR

    LLOYD AUSTIN, III, et al.,

                Defendants.



                              ORDER OF DISMISSAL

          THIS CAUSE is before the Court on Plaintiffs’ Unopposed Motion for

    Voluntary Dismissal (Dkt. No. 52; Motion) filed on June 17, 2022.         In the

    Motion, Plaintiffs request dismissal of this matter without prejudice.       See

    Motion at 1. Upon review of the docket, the Court notes that Defendants have

    neither served an answer nor a motion for summary judgment. Accordingly,

    pursuant to Rule 41(a)(1)(A)(i), Federal Rules of Civil Procedure, it is hereby

          ORDERED:

          1.    Plaintiffs’ Unopposed Motion for Voluntary Dismissal (Dkt. No. 52)

                is GRANTED.

          2.    This case is DISMISSED without prejudice.
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            3.   The Clerk of the Court is directed to terminate all pending motions

                 and close the file.

            DONE AND ORDERED in Jacksonville, Florida this 21st day of June,

    2022.




    ja

    Copies to:

    Counsel of Record




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